Entered: May 2nd, 2019
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Signed: May 2nd, 2019

SO ORDERED
No response or opposition.




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                  (Baltimore Division)
        IN RE:                                 *
        BENSON, THOMAS T.                      *       Case No. 18-25361-TJC
        BENSON, MARY JEAN                      *
                  Debtors                      *       (Chapter 7)
        *      *  *      *   *    *      *     *       *      *      *     *                         *

             ORDER GRANTING CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK
            GLOBAL REAL ESTATE SERVICES TO PROCURE CONSENTED PUBLIC SALE
                              PURSUANT TO 11 U.S.C. § 327



                   NOW the above-captioned matter comes before this Court upon the Application of the

        Chapter 7 Trustee, George Liebmann, by and through his counsel of record, pursuant to 11 U.S.C.

        § 327, requesting approval and authority to retain BK Global Real Estate Services in this

        proceeding. The Trustee filed the Application on April 12, 2019. The Trustee served the

        Application on the Office of the United States Trustee, Debtors’ counsel, the Debtors, the secured

        creditor and all parties of interest in this matter as shown within the certificate of service within

        the Application.

                   The Court, having jurisdiction herein, finds as follows:
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   1.       On 11/21/2018 Thomas T. Benson and Mary Jean Benson filed for relief under

Chapter 7 of the United States Bankruptcy Code and George Liebmann, is the duly qualified

and acting Chapter 7 Trustee of the bankruptcy estate.

   2.       The Debtors scheduled an ownership interest in real property located at 482

Nolpark Drive, Glen Burnie, Maryland 21061, legally described as follows:

  DIST:03 LT 16 BK G SC 2 482 NOLPARK DRIVE RIPPLING ESTATES MAP
REF:15 17 350
             hereinafter referred to as the “Real Property”.

   3.       The bankruptcy estate now holds the undivided interest in and to the subject Real

Property.

   4.       The Debtors listed the Real Property in their schedules as having a value of

$227,400.00.

   5.       The Real Property is subject to a first mortgage in favor of Shellpoint Mortgage in

an amount exceeding $242,546.88 per the Debtors’ sworn schedules.

   6.       Based upon the market value of the Real Property provided by the Debtors and the

information regarding the mortgage on this Real Property, the first mortgage debt is in excess

of the market value of the Real Property.

   7.       The Handbook for Chapter 7 Trustees published by the Executive Office of the

United States Trustee, states on pages 4 – 14 under Section 9 “Sales of Assets” (a) General

Standards “A trustee may sell assets only if the sale will result in a meaningful distribution to

creditors.” The Section further states “the trustee may seek a ‘carve-out’ from a secured

creditor and sell the property at issue if the ‘carve-out’ will result in a meaningful distribution

to creditors.” Further, the Section states “The trustee must also consider whether the cost of
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administration or tax consequences of any sale would significantly erode or exhaust the estate’s

equity interest in the asset.”

    8.      BK Global Real Estate Services (“BK Global”) provides services to trustees, as BK

Global has expertise and experience in assisting the trustee in negotiating with secured

creditors to accomplish the following:

            a. Sell the Real Property under 11 U.S.C. § 363(b) to whichever party the Chapter

                7 Trustee determines to have made the best qualified offer with the sale

                approved by the Court, pursuant to 11 U.S.C. § 363;

            b. Obtain the release of the senior mortgage and waive all of its claims against the

                estate with respect to the Real Property (including any deficiency claims

                resulting from the proposed sale);

            c. Work with the secured mortgage holder to enter into an agreement for an 11

                U.S.C. § 506 surcharge to pay all of the closing expenses associated with the §

                363 sale, including the payment of a six percent (6%) real estate brokerage

                commission and reimbursement of their out-of-pocket expenses to BK Global

                and any associated real estate professional, paid from the proceeds of the sale,

                and provide a meaningful carve-out for the benefit of allowed unsecured

                creditors of the Debtors’ estate; and

            d. Make certain the amount of the carve-out is clearly set out in the motion to sell

                the Real Property pursuant to 11 U.S.C. § 363.

    9.      BK Global will assist the Chapter 7 Trustee in negotiations with the first mortgage

holder to obtain the consent of the first mortgage holder for the sale of the Real Property with

a carve-out from the sale proceeds of such amount for the benefit of unsecured creditors of the
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bankruptcy estate, which will result in a meaningful distribution to the creditors, and upon a

successful resolution with the secured creditor, a separate motion will be filed seeking approval

of the settlement terms and conditions.

   10.      BK Global will not be entitled to any fees if the first mortgage holder does not

grant its consent or the Court does not grant the motion to approve the sale of the Real Property.

   11.     In no event will the bankruptcy estate have any obligation to pay BK Global or

associated real estate professional for their services, or to pay the customary title and closing

services. The terms of the listing agreement and this Application provide that BK Global and

listing agent are only entitled to payment if and when (a) secured creditor grants its consent,

(b) the motion to approve sale is granted and (c) the Real Property is sold, in which event BK

Global and listing agent will receive a six percent (6%) real estate brokerage commission and

obtain reimbursement of any out-of-pocket expenses.

   12.     The Trustee believes that the highest and best value for the Real Property will be

generated through a sale in which the Real Property is widely marketed to the public and

offered at the highest price that the market will bear. The Trustee further believes that such a

sale is in the best interest of the Debtors’ bankruptcy estate but can only be achieved if the

secured creditor’s consent is first obtained. The Chapter 7 Trustee believes that retaining BK

Global and/or an associated real estate professional to obtain the secured creditor’s consent is

in the best interest of the Debtors’ bankruptcy estate.

   13.     The Trustee submits that the terms of employment and compensation as set out in

this application and the listing agreement, are reasonable in light of the extensive experience

of BK Global and any associated real estate professional, and the nature of the services they

provide. (See Exhibit “A” which was attached to the Application.)
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           14.        BK Global attested that it is a disinterested person within the meaning of Section

        101(14) of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and 2016(a).

        Attached to the Application as Exhibit “B” was the Affidavit of Disinterestedness of BK

        Global. BK Global also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or

        share its fee with any individual or entity other than the listing agent or a buyer’s agent, if

        applicable.




           The Court, having reviewed the file herein and being fully advised, finds that good cause

  exists to grant the Trustee’s Application and for the entry of this Order.

           IT IS, THEREFORE, BY THE COURT ORDERED that the Notice provided by the

  Trustee on the Application to Retain BK Global Real Estate Services was due, proper and

  sufficient, and no further or additional notice is necessary or required.

           IT IS BY THE COURT FURTHER ORDERED that the Application filed herein by the

  Chapter 7 Trustee on April 12, 2019, is hereby APPROVED and the Chapter 7 Trustee is hereby

  AUTHORIZED to retain BK Global Real Estate Services in this case and the compensation

  arrangements set forth in the listing agreement and this application, pursuant to Sections 327,

  328(a) and 330 of the Bankruptcy Code are hereby APPROVED.

  cc:

Office of the U.S. Trustee                                 Melvin J. Caldwell, Jr.
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                                    END OF ORDER




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